Case 17-14454-elf   Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12   Desc
                     Exhibit 1 - Proposed Order Page 1 of 6


                                 EXHIBIT “1”
    Case 17-14454-elf           Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12                           Desc
                                 Exhibit 1 - Proposed Order Page 2 of 6



                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________
In re:                              : CHAPTER 11
                                    :
ISLAND VIEW CROSSING II, L.P.       : BANKRUPTCY NO. 17-14454(ELF)
                                    :
                        Debtor      :
___________________________________ :

                                                      ORDER


           AND NOW, upon consideration of (i) the Notice of Proposed Sale of Residential Unit(s)

in Phase 1 dated May 6, 2020 (“Sale Notice”) and (ii) this Court’s Order dated March 19, 2020

[D.I. 464] that approved inter alia the procedures for the sale of the remaining Residential Units in

Phase 1, as set forth in the Motion of Kevin O’Halloran, Chapter 11 Trustee, for Entry of an Order

under 11 U.S.C. §§ 105(a) and 363 and Fed. R. Bankr. P. 2002 and 6004 (I) Authorizing the Sale

of a Residential Unit in Phase 1 Free and Clear of all Liens, Claims, and Interests, (II) Authorizing

Procedures for the Approval of Future Sales of Residential Units in Phase 1 Free and Clear of all

Liens, Claims, and Interests, (III) Limiting Notice of Future Sales of Residential Units, and (IV)

for Related Relief (the “Motion”)1, and after notice of the Sale Notice and upon consideration of

the Trustee’s certification of no answer, objection, or other responsive pleading to the Sale Notice,

and good cause appearing therefore it is hereby ORDERED that:

           1.       The relief requested in the Sale Notice is GRANTED.

           2.       All objections and responses concerning the Sale Notice or the relief requested

therein are resolved in accordance with the terms of this Order and as set forth on the record for

the Hearing; and those that have not been withdrawn, waived, or settled, and all reservations of

rights included in such objections are overruled on the merits.


1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
    Case 17-14454-elf         Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12                              Desc
                               Exhibit 1 - Proposed Order Page 3 of 6




         3.       The Sale Agreement and the transactions contemplated therein including the

transfer of the Under-Contract Residential Unit by the Trustee to the Buyer as provided in the Sale

Agreement, are approved and authorized under Bankruptcy Code Sections 105 and 363 and the

Trustee and the Buyer are authorized to perform their respective obligations under the Sale

Agreement and consummate the sale of the Under-Contract Residential Unit and to take all actions

necessary to carry out the terms of and conditions of the Sale Agreement and this Order.2

         4.       The Trustee is authorized, empowered and directed to execute and deliver all

necessary documents to transfer and sell the Under-Contract Residential Unit to the Buyer pursuant

to the terms and conditions of the Sale Agreement.

         5.       Except for the Permitted Exceptions set forth in the Sale Agreement, pursuant to 11

U.S.C. § 363(b) and upon consummation of the Sale Agreement, the transfer of the Under-Contract

Residential Unit by the Trustee to the Buyer shall vest the Buyer with good and indefeasible title

to the Under-Contract Residential Unit free and clear of any and all liens, claims, community

interests, security interests, mortgages, conditions, encumbrances, pledges, restrictions, charges,

indentures, loan agreements, options, rights of first refusal, offsets, recoupments, rights of

recovery, judgments, orders and decrees of any court or governmental entity, interests, successor,

products, tax and other liabilities and claims against the Trustee, Debtor or its property, of any

kind or nature, whether secured or unsecured, choate, or inchoate, filed or unfiled, scheduled or

unscheduled, noticed or unnoticed, recorded or unrecorded, disputed or undisputed, contingent or

noncontingent, liquidated or unliquidated, matured or unmatured, known or unknown



2
  Attached as Exhibit “A” to this Order is a Schedule of the Under-Contract Residential Unit which details, inter alia,
the applicable lot number, property address and name of the Buyer for the Under-Contract Residential Unit approved
by this Order.

                                                          2
 Case 17-14454-elf         Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12                  Desc
                            Exhibit 1 - Proposed Order Page 4 of 6



(collectively, the “Interests”); and any such Interests which existed prior to the closing shall attach

to the proceeds of the sale in the same order and priority as existed before the sale under applicable

non-bankruptcy law, as such laws may be modified by the Bankruptcy Code, and subject to any

claims and defenses that the Trustee may possess with respect thereto.

        6.       The transfer of the Under-Contract Residential Unit to the Buyer constitutes a legal,

valid and effective transfer of the Under-Contract Residential Unit and shall vest the Buyer with

all right, title and interest of the Trustee in and to the Under-Contract Residential Unit, free and

clear of all Interests.

        7.       The purchase price offered by the Buyer for the Under-Contract Residential Unit is

fair and reasonable. The purchase price for the Under-Contract Residential Unit was negotiated,

proposed and entered into without collusion, in good faith and from an arm’s length bargaining

position “within the meaning of § 363(f) of the Bankruptcy Code and In re Abbotts Dairies of

Pennsylvania, Inc., 788 F.2d 142 (3rd Cir. 1986).”

        8.       The Trustee is authorized and empowered to carry out all of the provisions of this

Order; to issue, execute, deliver, file, and record, as appropriate, such other documents as may be

necessary evidencing and consummating this Order and the Sale Agreement.

        9.       The transactions contemplated by this Order are undertaken by the Buyer in good

faith, as that term is used in 11 U.S.C. § 363(m), and the Buyer is entitled to the rights and

protections granted thereby.

        10.      The transfer of the Under-Contract Residential Unit is in exchange for

consideration being paid by the Buyer that constitutes reasonable equivalent value and fair

consideration.

        11.      At the time of closing on the Under-Contract Residential Unit, the Trustee is



                                                   3
 Case 17-14454-elf          Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12                  Desc
                             Exhibit 1 - Proposed Order Page 5 of 6



authorized to pay from the proceeds of sale of the Under-Contract Residential Unit the following:

                  a.     First, the amount needed to satisfy any outstanding post-petition property

taxes and post-petition municipal liens due the applicable governmental authorities;

                  b.     Second, the amount needed to satisfy the real estate commissions due the

Trustee’s Broker, if applicable;

                  c.     Third, the normal and customary closing costs including, but not limited to,

transfer taxes and any recording fees;

                  d.     Fourth, the sum of $12,350.00 to the Redevelopment Authority of Bucks

County;

                  e.     Fifth, the sum of $25,000.00 to Prudential Bank; and

                  f.     the balance shall be retained and utilized by the Trustee to finance the

construction and completion of the Remaining Residential Units in Phase 1.

       12.        This Order shall be effective immediately upon entry of same and the fourteen (14)

day stay as provided for in Fed. R. Bankr. P. 6004(h) shall be, and hereby is, waived without

further notice.

       13.        This Court shall retain jurisdiction to interpret and enforce the terms of this Order.



                                                 BY THE COURT:


Dated: ____________                              ____________________________________
                                                 ERIC L. FRANK,
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                    4
Case 17-14454-elf   Doc 485-1 Filed 05/06/20 Entered 05/06/20 13:21:12      Desc
                     Exhibit 1 - Proposed Order Page 6 of 6



                                 EXHIBIT “A”

LOT   PROPERTY         DATE OF    BUYER(S)     PURCHASE    DEPOSIT      CLOSING
NO.    ADDRESS      AGREEMENT                    PRICE     AMOUNT        DATE
                       OF SALE
 21   16753 River   3/25/20       Jerome R.  $415,000.00   $20,750.00   7/21/20
      View Circle                 Dailey
                                  and Amy Jo
                                  Dailey
